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     JUSTO MATA BUSTOS
6
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                 ) Case No. 1:08-cr-0297 LJO-3
                                                )
12                              Plaintiff,      ) ORDER FILING UNDER SEAL
                                                )
13                   vs.                        )
                                                )
14    JUSTO MATA BUSTOS,                        )
                                                )
15                             Defendant.       )
                                                )
16                                              )
17            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Exhibit B of the
18   movant’s Section 2255 motion, the presentence report and recommendations shall be filed under
19   seal until further order of the Court.
20
     IT IS SO ORDERED.
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22       Dated:            June 23, 2016                /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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     Sealing Order
